              Case 2:20-cv-01213-TSZ Document 7 Filed 10/20/20 Page 1 of 3




 1                                                                  Honorable Thomas S. Zilly
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                          UNITED STATES DISTRICT COURT FOR THE
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
10
11
     MUSSE BAHTA,                                   NO. C20-1213-TSZ
12
13                           Plaintiff,             STIPULATION AND ORDER TO
       v.                                           EXTEND DEADLINES
14
15 CHAD WOLF, Acting Secretary of
   the Department of Homeland
16
   Security, et al.,
17
                        Defendants.
18
19
20                                         Stipulation
21          The parties have conferred and stipulate and agree as follows. In light of ongoing
22 adjudication of Plaintiff’s’ application, the results of which may render these proceedings
23 moot or at least have a relevant impact upon these proceedings, the parties jointly request a
24 90-day extension of the date by which they must file a Joint Status Report, Dkt. No. 4, and
25 the date by which Defendants must file their Response to the Complaint. The current and
26 proposed deadlines are as follows:
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28

     STIPULATION AND ORDER                                               UNITED STATES ATTORNEY
                                                                         1201 PACIFIC AVENUE, SUITE 700
     TO EXTEND DEADLINES- 1
                                                                          TACOMA, WASHINGTON 98402
     No. C20-1213-TSZ                                                            (253) 428-3800
              Case 2:20-cv-01213-TSZ Document 7 Filed 10/20/20 Page 2 of 3




1                         Deadline            Current Date         Proposed Date
2                Response to Petition      October 16, 2020     January 14, 2021
3
                 Joint Status Report and   October 16, 2020     January 14, 2021
4                Discovery Plan
5
6          Respectfully submitted and presented this 15th day of October, 2020.

7
8                                                   BRIAN T. MORAN
     /s/ Bart Klein                                 United States Attorney
9    BART KLEIN WSBA #10909
     Law Offices of Bart Klein
10   605 First Avenue South, Suite 500              /s/ Patricia D. Gugin
11   Seattle, WA 98104                              PATRICIA D. GUGIN, WSBA #43458
     Tel.: (206) 624-3787                           Assistant United States Attorney
12   Fax: (206) 624-6371                            United States Attorney’s Office
     E-mail: Bart.Klein@bartklein.com               1201 Pacific Avenue, Suite 700
13
                                                    Tacoma, Washington 98402
14   Attorneys for Plaintiffs                       Phone: 253-428-3832
                                                    Fax:     253-428-3826
15                                                  E-mail: pat.gugin@usdoj.gov
16
                                                   Attorneys for Defendants
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     STIPULATION AND ORDER                                              UNITED STATES ATTORNEY
                                                                        1201 PACIFIC AVENUE, SUITE 700
     TO EXTEND DEADLINES- 2
                                                                         TACOMA, WASHINGTON 98402
     No. C20-1213-TSZ                                                           (253) 428-3800
               Case 2:20-cv-01213-TSZ Document 7 Filed 10/20/20 Page 3 of 3




 1
                                                ORDER
 2
 3
            IT IS SO ORDERED. Defendants will file their response to Plaintiff’s Complaint by
 4
     January 14, 2021, and the parties will also file their Joint Status Report by January 14, 2021.
 5
 6
            Dated this 20th day of October, 2020.
 7
 8
 9
                                                      A
                                                      Thomas S. Zilly
10                                                    United States District Judge
11 Presented by:
12    /s/ Bart Klein
13    Bart Klein, WSBA# ____
      Law Offices of Bart Klein
14    605 First Avenue South, Suite 500
15    Seattle , WA 98104
      Phone: 206-755-5651
16    Email: bart.klein@bartklein.com
17
      Attorneys for Plaintiff
18
19    BRIAN T. MORAN
      United States Attorney
20
21    /s/ Patricia D. Gugin
      PATRICIA D. GUGIN, WSBA #43458
22    Assistant United States Attorney
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      Attorneys for Defendants
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      STIPULATION AND ORDER                                                UNITED STATES ATTORNEY
                                                                           1201 PACIFIC AVENUE, SUITE 700
      TO EXTEND DEADLINES- 3
                                                                            TACOMA, WASHINGTON 98402
      No. C20-1213-TSZ                                                             (253) 428-3800
